           Case 2:24-cv-06190-FLA-DFM                 Document 31          Filed 09/04/24         Page 1 of 4 Page ID
                                                            #:702
   Brian Patrick burning
   Inmate Reg. No. 07785-510
   Federal Correctional Institution
   Fort Dix
   P.O. Box 2000
   Joint Base MDL, NJ 08640                                                                 CL~F~}(, U.S. DiSTRiCT C         `~~'

   Defendant Pro Se
                                                                                                   SEP - =~ 224
                                         UNITED STATES DISTRICT COURT
                                                                                            NT~iyL ~I '~3TRiCaT GF C=<Lr7'~p~~,'~~q
                                       CENTRAL DISTRICT OF CALIFORNIA                   f By

  Z.B., et al.                                             Case No. 2:24-cv-06190-FLA-DFM

                               Plaintiffs;

  v.                                                       DEFENDANT DURNING'S MOTION
                                                           TO STRIKE PLAINTIFFS' MOTION
  Delta Airlines, et al.                                    TO REMAND FOR RULE 5 VIOLATION

                               Defendants.



                                                                                                                      Action to
 Defendant Brian Patrick burning, proceeding pro se, hereby moves this Court to strike Plaintiffs' Motion to Remand
                                                                                  in violation of his due process rights and
 State Court on the grounds that it was not properly served on Defendant burning,
 Federal Rule of Civil Procedure 5(b).

 I. INTRODUCTION
                                                                                                                       not received
 Defendant Brian Patrick burning is currently incarcerated and proceeding pro se in this matter. Mr. burning has
                                                                                                          related documents.   This
 proper service of the majority of court filings in this case, including Plaintiffs' Motion to Remand and
 lack of service has severely prejudiced Mr. Durning's ability to participate in these proceedings   and  respond  to important
                                                                                                                            question.
 jurisdictional issues. Moreover, the failure here deprives the Court of the only information that matters to the diversity

 II. FACTUAL BACKGROUND

 1. Mr. burning is currently incarcerated at FCI Fort Dix in New Jersey.
                                                                                                                               are
2. Mr. burning has not received any Notices of Electronic Filing from the District Court Clerks office which he understands
 mailed to pro se prisoners so as to notify them that documents have been filed.
                                                                                                                        court.
3. The only document Mr. Duming has received from Plaintiffs was the initial complaint when it was first filed in state
                                                                                             communicate   with Mr.  burning  and
4. Defendant Delta Air Lines, Inc., through counsel, has been the only party to consistently
serve him with documents.
                                                                                                                     during the
5. Mr. burning was unaware of the Motion to Remand until he received Delta's response to it on August 23, 2024
institution mail call for inmates.
                                                                                                                        or
6. Mr. burning has not had the opportunity to review Plaintiffs arguments regarding his alleged domicile in California to
respond to them.

III. ARGUMENT

A. Plaintiffs' Failure to Serve Mr. burning Violates Due Process

The failure to serve Mr. burning with the Motion to Remand and other critical filings violates his constitutional right to due
process. As a pro se prisoner litigant, Mr. burning is entitled to notice of all proceedings affecting his rights and the opportunity
                                                                                                                             action
to be heard. See Bounds v. Smith, 430 U.S. 817, 821 (1977). burning wishes to express that he intends to defend this
fully and does not want to be left by the wayside jslust because he is unable to participate through electronic    means.
          Case 2:24-cv-06190-FLA-DFM                 Document 31          Filed 09/04/24        Page 2 of 4 Page ID
                                                           #:703




  B. Plaintiffs Failure to Serve Mr. burning Violates Federal Rule of Civil Procedure 5(b)
                                                                                                  violation of Federal Rule of Civil
 Plaintiffs failure to serve Mr. burning with the Motion to Remand and other filings is in direct
                                                         that service on an individual may be accomplished     by 'mailing it to the
 Procedure 5(b). Rule 5(b)(2)(C) specifically provides
                                 in which event service is complete  upon mailing.  As a pro se incarcerated   defendant, Mr. burning
 person's last known address
                                                                                                violation of this rule.
 should have been served by mail at his prison address. Plaintiffs' failure to do so is a clear
                                                                                          receiving party's written consent,
 Furthermore, Rule 5(b)(2)(E), which allows for service by electronic means, requires the
                                                                              have been  sufficient even if it had been attempted.
 which Mr. burning has not provided. Therefore, electronic service would not
                                                                                                     ability to participate in this
 This violation of Rule 5(b) is not merely procedural, it has substantively impaired Mr. Durning's
 litigation and defend his interests.

 C. Mr. burning Has Been Prejudiced by Lack of Service
                                                                                             particularly regarding the crucial issue
 The lack of proper service has prevented Mr. burning from participating in this litigation,
                                                                            position  on  his  domicile, which is a key factor in
 of the court's jurisdiction. Mr. Duming has been unable to present his own
 determining diversity jurisdiction.


 D. Mr. burning Agrees with Delta's Position on Domicile

 While Mr. burning has not seen Plaintiffs' arguments, based on Deltas response, he agrees with and fully supports Delta's
 position that he is not domiciled in California and asserts unequivocally that he has taken numerous steps to establish Florida
 as his permanent domicile. Mr. burning wishes to present his own response supporting this position, but cannot do so without
 reviewing Plaintiffs' motion.

 IV. RELIEF REQUESTED

For these reasons, Mr. burning respectfully requests that the Court

1. Strike Plaintiffs' Motion to Remand,
2. Order that the Motion to Remand, if refiled, be properly served on Mr. burning at his current address of incarceration,
3. Order that all past and future filings in this case be served on Mr. burning via mail at his prison address,
4. Grant Mr. burning an extension of time to review all previously unserved filings and file any necessary responses,
5. Stay proceedings briefly to allow Mr. burning to be brought up to speed on the case status and filings, and
6. Grant any other relief the Court deems just and proper.

Respectfully submitted,




Bri n Patrick burning, Pr Se


Date: ~Z~/~[v                 ~~~~
                             ~-~ ~ ~L~ ,~~y
                             ~b   ~~ ~~a
Page 3 of 4 Page ID




                             J~ ,~D
                                                                             ~,~~~
                                                                     SAP - ~ 2024
                                                                           py~TR►CT OF GR~-nfUl'`(
                                                                                              -._,
Filed 09/04/24




                                                             CGPv1 rit~~         1̀         ~
      #:704
Document 31
Case 2:24-cv-06190-FLA-DFM




                                              ~S ~~~-, G~ ~a~~a - ~~ ~
                                                                                                     .~
Case 2:24-cv-06190-FLA-DFM   Document 31   Filed 09/04/24   Page 4 of 4 Page ID
                                   #:705
